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Tn Re:

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

AMERICAN HOME MORTGAGE Chapter 11

HOLDINGS, INC., a Delaware corporation, et

al.,

Case No. 07-11047 (CSS)

Debtors. Jointly Administered

Related to Docket Nos.

ORDER GRANTING 1140 GALAXY WAY, INC.’S MOTION FOR ORDER
COMPELLING DEBTOR-IN-POSSESSION TO ASSUME OR REJECT UNEXPIRED

LEASE OF NON-RESIDENTIAL REAL PROPERTY

AND NOW, this day of November, 2007, the Court having considered the Motion

of 1140 Galaxy Way, Inc. (“Galaxy”) for an Order Compelling Debtor in Possession to Assume

or Reject Lease of Nonresidential Real Property (the “Motion”)!; and the Court having considered

the responses to the Motion; and the Court having heard oral argument thereon; and the Court

having concluded that Galaxy has set forth good and sufficient reasons for the Motion to be

granted, NOW, THEREFORE,

IT IS HEREBY ORDERED THAT:

1.

2.

553352.1

The Motion is GRANTED.

Debtors in Possession shall elect whether to assume or reject the Lease within
seven (7) calendar days from the entry of this Order on the docket.

If Debtors in Possession do not make such election within seven (7) calendar days
from the date of the entry of this Order on the docket, the Lease shall be deemed
rejected without further order of this Court.

If Debtors in Possession elect to assume the Lease, they shall remit all payments

necessary to cure their defaults prior to their assumption of the Lease within seven

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calendar days from the date of entry of this Order on the docket, and shall meet all
other requirements for assumption under the Code. Failure to meet such
requirements within the seven-day time period prescribed herein shall result in the
Lease being deemed rejected without further order of this Court.

5. If Debtors in Possession elect to reject the Lease or if the Lease is deemed rejected
by the inaction of the Debtors in Possession, Galaxy is authorized to take all
actions necessary to prepare the Property for the next tenant, including removing
and storing any personal property of the Debtors in Possession at the expense of

the Debtors in Possession.

The Honorable Christopher S$. Sontchi
United States Bankruptcy Judge

' Capitalized terms not defined herein shall have the same meaning as that ascribed to them in the Motion.

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